                                      Case 2:20-cv-07717-VAP Document 9 Filed 04/28/21 Page 1 of 1 Page ID #:219


                                                                                                              JS-6



                                  1
                                                                      United States District Court
                                  2                                   Central District of California

                                  3

                                  4

                                  5       UNITED STATES OF AMERICA,

                                  6                           Plaintiff/Respondent,
                                                                                      Case No. CV 20-7717 VAP
                                  7                           v.                                (CR 11-1075 SJO)
                                  8       ARTAK OVSEPIAN,
                                                                                                   Judgment
Central District of California
United States District Court




                                  9                                                               [Doc. No. 1]
                                 10                           Defendant/Petitioner

                                 11             .

                                 12

                                 13
                                       TO ALL PARTIES AND COUNSEL OF RECORD:
                                 14
                                       Pursuant to the Order filed herewith, IT IS ORDERED AND
                                 15
                                       ADJUDGED that this action is DISMISSED WITH PREJUDICE. The
                                 16
                                       Court orders that such judgment be entered.
                                 17
                                       IT IS SO ORDERED.
                                 18
                                       Dated:       4/28/21
                                 19                                                         Virginia A. Phillips
                                                                                       United States District Judge
                                 20

                                 21

                                 22

                                 23
                                                                                1
                                 24

                                 25

                                 26
